               Case: 3:08-cv-00144-CVG-GWC Document #: 1-2 Filed: 11/15/08 Page 1 of 2
OAO 440 (Rev. 8/01) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                    VIRGIN ISLANDS                       District of                ST. THOMAS/ST. JOHN

                  MEAGHAN RICHARDSON
                   CYRIL RICHARDSON
                                                                       SUMMONS IN A CIVIL ACTION
                                 V.
      THE ATTORNEY GENERAL OF THE BRITISH
         VIRGIN ISLANDS, RANDY DONOVAN
                                                                CASE NUMBER: 3:08CV0144




                   TO: (Name and address of Defendant)
                        THE ATTORNEY GENERAL OF THE BRITISH VIRGIN ISLANDS




         YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)
                           THOMAS F. FRIEDBERG, ESQ. (VI# 1006) (619)557-0101
                           LAW OFFICES OF FRIEDBERG & BUNGE
                           610 WEST ASH STREET, SUITE 1400
                           PO BOX 6814
                           SAN DIEGO, CALIFORNIA 92166-0814
                           "tom@lawofficefb.com"




an answer to the complaint which is served on you with this summons, within                              days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint. Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.




CLERK                                                           DATE



(By) DEPUTY CLERK
                 Case: 3:08-cv-00144-CVG-GWC Document #: 1-2 Filed: 11/15/08 Page 2 of 2
OAO 440 (Rev. 8/01) Summons in a Civil Action
                                                                RETURN OF SERVICE
                                                                    DATE
 Service of the Summons and complaint was made by me(1)
NAME OF SERVER (PRINT)                                              TITLE


   Check one box below to indicate appropriate method of service

         G Served personally upon the defendant. Place where served:


         G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
             discretion then residing therein.
             Name of person with whom the summons and complaint were left:

         G Returned unexecuted:



         G Other (specify):



                                                           STATEMENT OF SERVICE FEES
TRAVEL                                               SERVICES                                               TOTAL
                                                                                                                    $0.00
                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.




           Print                         Save As...                     Export as FDF      Retrieve FDF File                   Reset
